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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                   §
                                               §
                                               §
             Plaintiffs,                       §
                                               §
 v.                                            §    Civil Action No. 4:20-cv-00957-SDJ
                                               §
 GOOGLE LLC,                                   §
                                               §
                                               §
             Defendant.                        §


                 DEFENDANT GOOGLE LLC’S UNOPPOSED MOTION
                            TO FILE UNDER SEAL

       Defendant Google LLC (“Google”) respectfully moves to seal its November 5, 2024

Reply In Support of Its Motion to Bifurcate the Liability Finding from Assessment of Penalties

(“Bifurcation Reply”). Plaintiffs are unopposed. Pursuant to Local Rule CV-5(a)(7)(E), Google

will file redacted copies of the Bifurcation Reply within seven days.

                                      LEGAL STANDARD

       While the “public’s right of access to judicial proceedings is fundamental” and creates a

default presumption “that judicial records should not be sealed,” Binh Hoa Le v. Exeter Fin.

Corp., 990 F.3d 410, 418-19 (5th Cir. 2021), this right of access “is not absolute.” Nixon v.

Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978). Courts have properly limited the public’s

right of access to protect “sources of business information that might harm a litigant’s

competitive standing.” Nixon, 435 U.S. at 598.

       In deciding whether to allow public access to judicial records, the Court must exercise its

discretion “in light of the relevant facts and circumstances of the particular case,” balancing “the
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public’s common law right of access against the interests favoring nondisclosure.” Vantage

Health Plan, Inc. v. Willis-Knighton Med. Ctr., 913 F.3d 443, 450 (5th Cir. 2019) (quoting

Nixon, 435 U.S. at 599, and S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993)).

                                         ARGUMENT

       The Court should permit Google to file the Bifurcation Reply under seal because it

contains references to non-public, highly sensitive commercial information that, if disclosed

publicly, would likely cause Google competitive harm.

       Courts routinely recognize that the interest in nondisclosure of sensitive commercial

information outweighs the public’s right of access to court records. See, e.g., Nixon, 435 U.S. at

598 (“[C]ourts have refused to permit their files to serve . . . as sources of business information

that might harm a litigant’s competitive standing.”). Here, Google’s Bifurcation Reply references

two Plaintiff expert reports that Plaintiffs have designated Highly Confidential (which, in turn,

reference and examine highly confidential, non-public commercial information belonging to

Google). The Bifurcation Reply also references sensitive portions of the depositions of Google’s

co-founder and Director (Mr. Brin), as well as a current senior executive (Mr. Mohan).

       If permitted to file its Bifurcation Reply under seal, Google will publicly file a version

with limited redactions—namely, the aforementioned citations to Plaintiffs’ expert reports and

the depositions of Messrs. Brin and Mohan—within the time required by Local Rule CV-

5(a)(7)(E).

                                        CONCLUSION

       For these reasons, Google respectfully moves the Court for an order to file under seal

Google’s Reply In Support of Its Motion to Bifurcate the Liability Finding from Assessment of

Penalties.




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Dated: November 5, 2024            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on November 5, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).


                                                          /s/ Kathy D. Patrick___________
                                                          Kathy D. Patrick




                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(i), I certify that the meet and confer requirements in Local

Rule CV-7(h) have been met, and that this motion is unopposed.


                                                          /s/ Kathy D. Patrick___________
                                                          Kathy D. Patrick




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